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 1    Derek W. Loeser (pro hac vice)
 2    dloeser@kellerrohrback.com
      KELLER ROHRBACK, LLP
 3    1201 Third Avenue, Suite 3400
 4    Seattle, WA 98101
      (206) 623-1900, Fax (206) 623-3384
 5
 6    Eric Kafka (pro hac vice)
      ekafka@cohenmilstein.com
 7    COHEN MILSTEIN SELLERS & TOLL PLLC
 8    88 Pine Street, 14th Floor
      New York, NY 10005
 9    (212) 838-7797, Fax: (212) 838-7745
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      Plaintiffs’ Interim Co-Lead Counsel
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12
                            UNITED STATES DISTRICT COURT
13
                           CENTRAL DISTRICT OF CALIFORNIA
14                               WESTERN DIVISION
15
      IN RE: TIKTOK, INC., MINOR                    MDL NO. 3144
16    PRIVACY LITIGATION
                                                    2:25-ml-03144-GW-RAO
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18                                                  (PROPOSED) ORDER RE
                                                    LEADERSHIP AND COMPLAINT
19                                                  DEADLINE
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21         IT IS HEREBY ORDERED:
22         1.    The Court has appointed Eric Kafka of Cohen Milstein Sellers & Toll PLLC
23               and Derek Loeser of Keller Rohrback LLP as Interim Lead Counsel.
24         2.    The Court hereby appoints Steve Bloch of Silver Golub & Teitell LLP to the
25               Executive Committee who shall work at the direction and under the control
26               of Interim Lead Counsel.
27         3.    If Interim Lead Counsel later determines that the needs of the case require
28               the appointment of an additional Executive Committee member, Interim
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 1                      Lead Counsel may ask the Court to appoint an additional Executive
 2                      Committee member.
 3             4.       As noted in the Court’s June 5, 2025 Minutes of Telephonic Conference
 4                      (ECF 73), the Consolidated Amended Complaint shall be filed on or before
 5                      July 11, 2025.
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      IT IS SO ORDERED.
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      Dated:                        , 2025
11                                                    Honorable George H. Wu
12                                                    United States District Judge
      4908-7887-6491, v. 1

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